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                    IN THE UNITED STATES DISTRICT COURT
                                                                                         ELECTRONICALLY
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA                                   FILED
                                AT WHEELING                                                 Apr 22 2022
                                                                                       U.S. DISTRICT COURT
 MATTHEW KANTERS and                                                                   Northern District of WV
 OLIVIA KANTERS,

                 Plaintiffs,
                                                                          5:22-CV-104 (Bailey)
 v.                                                      CIVIL ACTION NO._____________
                                                         CIRCUIT COURT NO. 21-C-153
 RODNEY OAKLEY and
 NEW MILLENNIUM
 TRANSPORTATION LLC,

                 Defendants.


                                  NOTICE OF REMOVAL

               NOW COME Defendants, Rodney Oakley and New Millennium Transportation

LLC (hereinafter collectively “Defendants”), by and through counsel, Tiffany R. Durst, and the

law firm of Pullin, Fowler, Flanagan, Brown & Poe, PLLC, pursuant to 28 U.S.C. § 1332, 1441,

and 1446, and hereby give notice of removal of the above-captioned matter from the Circuit Court

of Ohio County, West Virginia to the United States District Court for the Northern District of West

Virginia, at Wheeling. In support thereof, Defendants state and aver as follows:

               1.      According to 28 U.S.C. § 1441(a), “any civil action brought in a State court

of which the district courts of the United States have original jurisdiction, may be removed by the

defendant or defendants, to the district court of the United States for the district and division

embracing the place where such action is pending.” The original jurisdiction of this Court includes

“all civil actions where the amount in controversy exceeds the sum or value of $75,000, exclusive

of interest and costs, and is between . . . citizens of different States[.]” 28 U.S.C. § 1332(a)(1).
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               2.      This civil action was commenced by Plaintiffs, Matthew Kanters and Olivia

Kanters (hereinafter collectively “Plaintiffs”), on or about September 21, 2021. Plaintiff filed her

Complaint styled: Matthew Kanters and Olivia Kanters v. Rodney Oakley and New Millennium

Transportation LLC, Civil Action No. 21-C-153, in the Circuit Court of Ohio County, West

Virginia. See Complaint, attached hereto as “Exhibit A.”

               3.      Upon information and belief, a complete copy of the Ohio County Circuit

Court file, including true and correct copies of all process, pleadings, and orders served in the state

court action, will be submitted to this Court by the Circuit Court of Ohio County, West Virginia.

See current Docket Sheet for Civil Action No. 21-C-153, attached hereto as “Exhibit B.”

               4.      This action is removable pursuant to 28 U.S.C. § 1332(a), as this is a civil

action wherein the matter in controversy exceeds the sum or value of Seventy-Five Thousand

Dollars ($75,000.00), exclusive of interests and costs, and it is between citizens of different states.

               5.      At the time the Complaint was filed by Plaintiffs, Defendants did not have

a reasonable belief that the amount in controversy in this case exceeded the sum of Seventy-Five

Thousand Dollars, specifically as the claimed medical bills and expenses for Plaintiff Matthew

Kanters, as of September 2, 2021 correspondence from Plaintiffs’ counsel, were in the amount of

Twelve Thousand Five Hundred Nine Dollars and Eighty-Six Centers ($12,509.86).

               6.      Following the institution of the action, on January 14, 2022, Defendant New

Millennium Transportation LLC served Requests for Admission on Plaintiffs, pursuant to Rule 36

of the West Virginia Rules of Civil Procedure, as follows:

                       Request No. 23:       With regard to this civil action, please admit
       that the matter in controversy exceeds the sum of $75,000.00.
                       Answer:

                       Request No. 24:         With regard to this civil action, please admit
       that the matter in controversy is equal to or less than the sum or value of $75,000.00.

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                       Answer:


                        Request No. 25:       With regard to this civil action, please admit
       that Plaintiffs seek to recover in excess of $75,000.00 in damages.
                        Answer:


               7.      Plaintiffs’ counsel thereafter requested an extension for the discovery

responses through and including March 15, 2022, pursuant to e-mail correspondence of January

24, 2022. Thereafter, Plaintiffs’ counsel requested an additional extension for Plaintiffs’ discovery

responses, with the responses being received by Defendants’ counsel on March 23, 2022. Plaintiff

Matthew Kanters specifically responded as follows to the above Requests for Admission:

                       Request No. 23:       With regard to this civil action, please admit
       that the matter in controversy exceeds the sum of $75,000.00.
                       Answer: Admitted.

                       Request No. 24:         With regard to this civil action, please admit
       that the matter in controversy is equal to or less than the sum or value of $75,000.00.
                       Answer: Denied.


                        Request No. 25:       With regard to this civil action, please admit
       that Plaintiffs seek to recover in excess of $75,000.00 in damages.
                        Answer: Admitted.

               8.      Based on the foregoing responses of Plaintiffs, it is clear that the amount in

controversy exceeds Seventy-Five Thousand Dollars ($75,000.00). Thus, a review of Plaintiffs’

Responses to Requests for Admission reveals, by a preponderance of the evidence pursuant to 28

U.S.C. § 1446(c)(2)(B), that the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00). McCoy v. Erie Ins. Co., 147 F. Supp. 2d at 481m 485 (S.D. W. Va. 2001). See also,

Weddington v. Ford Motor Credit, 59 F. Supp. 2d 578 (S.D. W. Va. 1999); Sayre v. Potts, 32 F.

Supp. 2d 881(S.D. W. Va. 1999).




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               9.      28 U.S.C. § 1446(b)(3) provides: “Except as provided in subsection (c), if

the case stated by the initial pleading is not removable, a notice of removal may be filed within

thirty days after receipt by the defendant, through service or otherwise, of a copy of an amended

pleading, motion, order or other paper from which it may first be ascertained that the case is one

which is or has become removable.”

               10.     Here, the Notice of Removal is timely filed within thirty (30) days after

receipt by Defendants of Plaintiffs’ Responses to the Requests for Admission “from which it may

be first ascertained that the case in one which is or has become removable.”

               11.     As set forth below, this action is between citizens of different states and,

therefore, diversity of citizenship is shown:

                       a.      According to the Complaint, Plaintiffs are residents of Bridgeport,

Ohio. Exhibit A at ¶¶ 1-2. Therefore, for purposes of 28 U.S.C. §§ 1332 and 1441, Plaintiffs are

domiciled in the State of West Virginia and are citizens of the State of West Virginia.

                       b.      Defendant Rodney Oakley is a citizen and resident of the

Commonwealth of Pennsylvania, residing in Houston, Pennsylvania. Exhibit A at ¶ 4.

                       c.      Defendant New Millennium Transportation LLC is a Limited

Liability Company organized and existing under the laws of the Commonwealth of Pennsylvania,

with a principal place of business located at 110 E. Katherine Avenue, Washington, Pennsylvania.

Exhibit A at ¶ 5. The sole member of the Limited Liability Company is Robert Lopez (“Mr.

Lopez”), whose residence is located at 110 East Katherine Avenue, Washington, Pennsylvania.

Mr. Lopez started New Millennium Transportation LLC in 2000 and has been the only member of

the LLC since it became an LLC in 2007. Thus, for purposes of 28 U.S.C. §§ 1332 and 1441,




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Defendant New Millennium Transportation LLC is domiciled in the Commonwealth of

Pennsylvania and is a citizen of the Commonwealth of Pennsylvania.

                12.     Pursuant to 28 U.S.C. § 1441(a), any civil action brought in a State of which

the district courts of the United States have jurisdiction may be removed by the Defendant(s) to

the district court of the United States for the district and division embracing where such action is

pending.

                13.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District of West

Virginia because a substantial part of the events or omissions giving rise to the claims contained in

the Complaint allegedly occurred in this district.

                14.     Pursuant to 28 U.S.C. § 1446(d), Defendants are concurrently serving on

Plaintiffs the Notice of Removal and also filing in the Circuit Court of Ohio County, West Virginia,

a “Notice of Filing of Notice of Removal to Federal Court”. See Notice of Filing of Notice Removal

to Federal Court, attached hereto as “Exhibit C.”

                15.     Defendants state that the removal of the above-captioned civil action from

the Circuit Court of Ohio County to the United States District Court for the Northern District of

West Virginia, at Wheeling, is proper.

                Dated this 22nd day of April, 2022.

                                                         Defendants, New Millennium
                                                         Transportation LLC and Rodney Oakley,
                                                         By Counsel:

                                                         /s/ Tiffany R. Durst
                                                         Tiffany R. Durst, State Bar No. 7441

PULLIN, FOWLER, FLANAGAN, BROWN & POE, PLLC
2414 Cranberry Square
Morgantown, West Virginia 26508
Telephone:   (304) 225-2200
Facsimile:   (304) 225-2214

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                 Plaintiffs,
                                                                        5:22-CV-104 (Bailey)
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                                                       CIRCUIT COURT NO. 21-C-153
 RODNEY OAKLEY and
 NEW MILLENNIUM
 TRANSPORTATION LLC,

                 Defendants.

                                 CERTIFICATE OF SERVICE

         The undersigned, counsel of record for Defendants, does hereby certify on this 22nd day of

April, 2022, that a true copy of the foregoing "Notice of Removal" was served via the CM/ECF filing

system on the following: Scott Blass, Esq., sblass@bordaslaw.com, Christopher McCabe, Esq.,

CMcCabe@bordaslaw.com, Counsel for Plaintiffs.

                                         Scott S. Blass
                                     Christopher J. McCabe
                                   BORDAS & BORDAS, PLLC
                                      1358 National Road
                                      Wheeling, WV 26003
                                      Counsel for Plaintiffs




                                                     /s/ Tiffany R. Durst
                                                     Tiffany R. Durst, State Bar No. 7441

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